     Case 2:24-cv-00985-APG-MDC        Document 38    Filed 11/25/24    Page 1 of 38


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 3
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 6                               UNITED STATES DISTRICT COURT
 7
                                       DISTRICT OF NEVADA
 8

 9     COREY GERWASKI,

10                       Plaintiffs,          Case No.: 2:24-cv-00985
       vs.
11
       STATE OF NEVADA ex rel.
12     BOARD OF REGENTS OF THE                OPPOSITION TO MOTION TO
       NEVADA SYSTEYM OF HIGHER               DISMISS
13
       EDUCATION, on behalf of the
14     UNIVERSITY OF NEVADA, LAS
       VEGAS;       KEITH    WHITFIELD,       [ORAL ARGUMENT REQUESTED]
15     individually, AJP EDUCATIONAL
       FOUNDATION INC., A California
16     Non-Profit Corporation, STUDENTS
17     FOR JUSTICE OF PALESTINE-
       UNLV; NATIONAL STUDENTS
18     FOR JUSTICE OF PALESTINE;
       NEVADANS FOR PALESTINIAN
19     LIBERATION DOES I-XX and ROE
       entities I-XX.
20
                        Defendants.
21

22
             COMES NOW, Plaintiff, COREY GERWASKI, (hereinafter “Gerwaski” inter alia) by
23
       and through his attorneys of record, SIGAL CHATTAH, ESQ., of CHATTAH LAW GROUP
24

25     and JOSEPH S. GILBERT, ESQ., of JOEY GILBERT LAW, and file the foregoing Response to

26     Motion to Dismiss Complaint [ECF 35] filed by Defendants STATE OF NEVADA ex rel.

27

28
                                                 1
     Case 2:24-cv-00985-APG-MDC           Document 38       Filed 11/25/24      Page 2 of 38


 1     BOARD OF REGENTS OF THE NEVADA SYSTEYM OF HIGHER EDUCATION, on behalf

 2     of the UNIVERSITY OF NEVADA, LAS VEGAS in the above-entitled action.
 3
                                                INTRODUCTION
 4
              The following action involves religious discrimination, harassment and obstruction
 5
       against Plaintiff as a student at the University of Nevada Las Vegas, (UNLV) in addition to as an
 6

 7     employee of UNLV under both Title VII and Title IX.

 8            UNLV’s culpability along with WHITFIELD are delineated in the First Amended

 9     Complaint (“FAC”) as to all charges of discrimination and collusion with other named
10     Defendants allowed soliciting, inciting and encouraging students at UNLV, along with faculty to
11
       engage in harassment of Jewish students at the University, and successfully coordinating the
12
       harassment and plight of Gerwaski herein. It is no coincidence that Defendant organizations were
13
       emboldened by UNLV’s inaction, specifically engaged in activities at UNLV for the purposes of
14

15     deliberately tormenting and harassing Jewish students and wreaking havoc on Jewish student life

16     on campus. UNLV’s actions not only encouraged and solicited harassment against Jewish

17     students on UNLV’s campus, it also legitimized blatant antisemitic acts that Mr. Gerwaski was
18
       subjected to by students and faculty.1
19
                                          STATEMENT OF FACTS
20
              After October 7, 2023, students at UNLV and faculty rallied to support Hamas, whose
21
       terrorists had invaded Israel to murder, torture, and rape 1,200 people and abducted hundreds of
22

23     civilians. As Plaintiff alleges in his FAC, UNLV encouraged antisemitic discrimination and

24     harassment of Jewish students at UNLV directly resulting on unimaginable harassment against
25

26
       1
         It is significant to note that Defendants fail to provide any arguments in their Motion as to why
27     Plaintiffs’ Second, Fifth, Sixth, Seventh, Eighth and Twelfth Claim for Relief should be dismissed
       precluding Plaintiff from addressing such arguments on the merits.
28
                                                       2
     Case 2:24-cv-00985-APG-MDC             Document 38        Filed 11/25/24      Page 3 of 38


 1     Jewish students across campus resulting overwhelming harassment and discrimination against

 2     Mr. Gerwaski.
 3
                 Defendant UNLV’s roll and acts in this case are particularly egregious because their roll
 4
       was two-fold. First, allowing the protests on-campus to sow chaos at the University, inciting,
 5
       encouraging and soliciting harassment of Jewish students and delegitimizing their presence on
 6
       campus, encouraging students and faculty to follow their lead. Second, to deliberately facilitate
 7

 8     and oversee egregious discrimination, doing nothing regarding same, by faculty, staff and

 9     members of the UNLV Board to the extent that it not only permeated as to Gerwaski’s
10     employment but also to his position in the student body.
11
       PROCEDURAL POSTURE AND SERVICE OF PROCESS ON UNLV
12
                 On May 26, 2024, Plaintiff filed his initial Complaint in this action [ECF 1]. In the
13
       Complaint, Plaintiff noted that he was pending receipt of a right to sue letter from the EEOC and
14

15     that he was reserving the right to amend the Complaint upon receipt. 2 On August 8, 2024,

16     Plaintiff received his right to sue letter and amended the Complaint as the operative pleading

17     herein on August 9, 2024.
18               Due to the fact that the FAC including the Title VII allegations directly impacted
19
       allegations against UNLV, Plaintiff served the University on August 29, 2024 through the
20
       Attorney General and Defendant Keith Whitfield on August 28, 2024.
21
                 It is significant to note that UNLV does not consider the President of UNLV Whitfield
22

23     the administrative head of UNLV nor an agent designated to receive service of process. Instead,

24     the online UNLV manual designates an interim chancellor as the individual to accept service of

25     process.
26

27
       2
           See ECF 1;49 fn 24
28
                                                          3
     Case 2:24-cv-00985-APG-MDC             Document 38        Filed 11/25/24       Page 4 of 38


 1                                            LEGAL ARGUMENT

 2     A.      THIS COURT HAS JURISDICTION OVER UNLV
 3
               Plaintiff submits herein, that good cause exists for Defendants to have been served on
 4
       August 29, 2024, less than a week of the service period of the initial Complaint, and less than 30
 5
       days of filing the Amended Complaint. Assuming arguendo that this Court finds that Plaintiff’s
 6
       did not comply with Fed. R. Civ. P 4(m), Plaintiffs seeks an extension retroactively to qualify
 7

 8     this Amended Complaint as properly served, since Defendant was aware of the Complaint as

 9     delineated herein.
10             As delineated herein, this Court should maintain jurisdiction over UNLV since UNLV
11
       knew about the Complaint, and there is no prejudicial effect to UNLV by this Court maintaining
12
       jurisdiction hereon. It is also significant to note that as early as June 25, 2024, the Parties
13
       attempted to engage in mediation following the filing of the action as indicated by the redacted
14

15     emails attached hereto as Exhibit “1”. Said EEOC mediation subsequently never took place and

16     the filing of the Amended Complaint ensued.

17             More importantly though, because the nature of the FAC and claims against UNLV, it is
18
       Gerwaski who would be prejudiced with a dismissal of the foregoing action, since the 90 days
19
       from Gerwaski’s receipt of the Right to Sue Letter was received expired on or about November
20
       9, 2024.
21
               Federal Rule of Civil Procedure 4(m) requires that defendants be served with process
22

23     within 90 days after the complaint is filed. If the plaintiff fails to meet this deadline, “the court-

24     on motion or on its own after notice to the plaintiff-must dismiss the action without prejudice
25     against that defendant or order that service be made within a specified time.” Id. However, Rule
26
       4(m) instructs the court to extend the time to serve “for an appropriate period” if the plaintiff
27

28
                                                          4
     Case 2:24-cv-00985-APG-MDC            Document 38        Filed 11/25/24      Page 5 of 38


 1     shows good cause for the failure to timely serve process. Nimble v Macomber, 2:24-cv-1259-

 2     DJC-CSK (E.D. Cal. Aug. 21, 2024)
 3
              In determining whether or not to extend time for service, courts within the Ninth Circuit
 4
       engage in a two-step analysis, pursuant to Fed.R.Civ.P. 4(m). First, where good cause is shown,
 5

 6     the time for serving the complaint is extended for an appropriate period. See Fed.R.Civ.P. 4(m).

 7     "Second, if there is no good cause, the court has the discretion to dismiss without prejudice or to

 8     extend the time period." In re Sheehan, 253 F.3d 507, 512 (9th Cir. 2001). Where good cause is
 9
       not found, the Court exercises its discretion to extend time to effectuate service when the
10
       extension is sought retroactively after the defendant was served or if the defendant is aware of
11
       the case. [Emphasis added] See U.S. Bank Tr. v. Guevara, Case No.: 2:18-cv-00004-JCM-NJK
12
       (D. Nev. Jul. 9, 2018).
13

14            Here while Plaintiff concedes that filing an Amended Complaint does not automatically

15     restart the service period. However, federal courts have construed the service rules liberally to
16     permit plaintiffs additional time for service. Arroyo v. Wheat , , 102 F.R.D. 516, 518 (D. Nev.
17
       1984) (construing former Rule 4(j) and finding that "good cause" exists for extension of time
18
       where the plaintiff's service efforts have been bona fide, and there was no dilatory or willful
19
       delay) (emphasis added). The Arroyo court also noted that "[i]t was not intended that [former]
20

21     Rule 4(j) would be enforced harshly; that is why liberal extensions of time are permitted under

22     Rule 6(b)." Id. (emphasis added).

23            Nevada's federal court has also determined that the Court "has broad discretion to extend
24     time for service under Rule 4(m)." In considering whether to grant an extension, "a district court
25
       may consider factors 'like statute of limitations bar, prejudice to the defendant, actual notice of a
26
       lawsuit, and eventual service.'" Woodbury Law, Ltd. v. Bank of Am, Case No. 2:15-cv-02247 (D.
27
       Nev. Apr. 11, 2016).
28
                                                         5
     Case 2:24-cv-00985-APG-MDC                   Document 38            Filed 11/25/24          Page 6 of 38


 1              It is significant to note that while Defendant Keith Whitfield filed a Motion to Dismiss

 2     with this Court, never was it asserted that he was not the proper person to be served on behalf of
 3
       UNLV. Furthermore, despite being placed of the lawsuit after service of the Attorney General, 3
 4
       never did Defendants notify that the property person to be served was the Interim Chancellor at
 5
       UNLV.
 6

 7              Plaintiff only found out about the faulty service of process, after contact was made with

 8     UNLV’s counsel providing them with a courtesy of notice that an Answer had not been filed in

 9     the case.4 Specifically, Counsel for UNLV provided the following:
10                            Ms. Chattah,
11
                              Thank you for contacting me before attempting to take a default. UNLV's time
12                            to respond to the complaint has not started to run, though. FRCP 4(j) governs
                              service on a state government entity. Rule 4(j)(2) states,
13
                              (2) State or Local Government. A state, a municipal corporation, or any other
14                            state-created governmental organization that is subject to suit must be served
                              by:
15                               (A) delivering a copy of the summons and of the complaint to its chief
                              executive officer; or
16                               (B) serving a copy of each in the manner prescribed by that state's law for
                              serving a summons or like process on such a defendant.
17
                              UNLV is not a legal entity. The entity is the Nevada System of Higher
18                            Education. See NRS 396.020(6). The chief executive officer of the Nevada
                              System of Higher Education is its Chancellor, not UNLV President Keith
19                            Whitfield. See the NSHE Board of Regents Handbook, Title 1, Article VII
                              (Officers of the University), Section 3 ("The Chancellor is the chief executive
20                            officer and ex-official treasurer of the Nevada System of Higher Education...")
                              . The Board of Regents Handbook is available
21                            here: https://nshe.nevada.edu/regents/policies/

22                            Unlike President Whitfield, the Chancellor has not authorized UNLV's Office
                              of General Counsel to accept service on her behalf. I am not permitted to
23                            waive service of process on the Nevada System of Higher Education.

24                            I am aware that the Nevada Attorney General was served on August 29. If you
                              were to rely on FRCP 4(j)(2)((B), which permits service of an entity under
25                            applicable state law, you would still need to complete service on the

26
       3
         It is significant to note that Defendants allege that that Attorney General placed Plaintiff on notice of the service
27     under Nevada law. Plaintiff never received any communication or notice regarding service of process from the
       Attorney General’s office.
28     4
         See Email dated October 18, 2024 attached herein as Exhibit “2”
                                                                   6
     Case 2:24-cv-00985-APG-MDC                   Document 38            Filed 11/25/24          Page 7 of 38


 1                            Chancellor.5 NRCP 4.2(d)(1) requires service on both the Attorney General
                              and the "administrative head of the named public entity," which is the
 2                            Chancellor.

 3
                It is significant to note, that UNLV does not currently have a Chancellor nor did they at
 4

 5     the time the lawsuit was filed; UNLV had an interim chancellor. After notifying Counsel for

 6     UNLV regarding same on October 18, 2024, Plaintiff was notified that service can be effectuated

 7     at NSHE offices in Las Vegas, wherein service of process was effectuated on October 22, 2024.
 8
                Defendants cite to Ambulatory Surgery Ct., LLC v UnitedHealth Grp., Inc. 99 F. Supp.
 9
       3d 1110, 1186 (C.D.C al 2015) in support of their allegations that Plaintiff does not show this
10
       court good cause sufficient to sustain jurisdiction in this action.
11
                It is indisputable that Defendants knew of the lawsuit as early as June, 2024 since they
12

13     sought to engage in an EEOC mediation with Plaintiff as demonstrated by the EEOC emails

14     attached hereto6 (notwithstanding the extensive media coverage of the matter). Second,
15     Defendants have not articulated any prejudice if this lawsuit were allowed to proceed. Most
16
       importantly though is that it is Plaintiff who would be substantially prejudiced with the dismissal
17
       of the Complaint, since the 90 days to file his action after receipt of the letter for the EEOC
18
       claim was November 9, 2024.
19
20     B.       ELEVENTH AMENDMENT IMMUNITY DOES NOT APPLY SINCE
                PLAINTIFF SEEKS PROSPECTIVE RELIEF FOR VIOLATION OF DUE
21              PROCESS RIGHTS UNDER 42 USC §1983.

22              Defendants seek to dismiss the action against UNLV claiming Eleventh Amendment
23     immunity applies hereto. Plaintiff concedes that Eleventh Amendment immunity applies to
24
       UNLV only to a certain extent.
25

26
       5
         It is significant to note that Defendant also misstates that Plaintiff knew that he had to serve the Chancellor as early
27     as August 29, 2024, as evidenced by the October 18, 2022 email attached hereto which is the first time that any
       mention of serving the Chancellor is made.
28     6
         See Plaintiff’s Exhibit “1” attached hereto.
                                                                   7
     Case 2:24-cv-00985-APG-MDC            Document 38         Filed 11/25/24      Page 8 of 38


 1            In the Ninth Circuit, Eleventh Amendment immunity extends to NSHE and its

 2     constituent entities as agencies of the State of Nevada. See Johnson v. Univ. of Nevada, 596
 3
       F.Supp. 175, 178 (D. Nev. 1984) (concluding that Nevada's university system operates as a
 4
       branch of state government so that its entities are captured within the meaning of the Eleventh
 5
       Amendment); see also Krainski, 616 F.3d at 968 (holding that the plaintiff may not bring an
 6
       action against the University of Nevada, Las Vegas under the Eleventh Amendment); see also
 7

 8     Disabled Rights Action Comm. v. Las Vegas Events, Inc., 375 F.3d 861, 883 n. 17 (9th Cir.

 9     2004) (noting NSHE's immunity from suit under the Eleventh Amendment). Here, there is no
10     question that UNLV is an NSHE entity for purposes of Eleventh Amendment immunity.
11
              However, there is a narrow exception to Eleventh Amendment immunity “where the
12
       relief sought is prospective in nature and is based on an ongoing violation of the
13
       plaintiff's federal constitutional or statutory rights.” Krainski v Nevada ex rel Bd. Of
14

15     Regents, 616 F.3d 963 (9th Cir. 2010).

16            Whether relief sought is prospective or retrospective is based on Ex parte Young, 209

17     U.S. 123 (1908), and a litany of cases that followed. Young has been focused on cases in which a
18     violation of federal law by a state official is ongoing as opposed to cases in which federal law
19
       has been violated at one time or over a period of time in the past, as well as on cases in which the
20
       relief against the state official directly ends the violation of federal law as opposed to cases in
21
       which that relief is intended indirectly to encourage compliance with federal law through
22

23     deterrence. Papasan v. Allain, 478 U.S. 265, 277-78 (1986).

24            In deciding whether relief is prospective and based on an ongoing violation of federal

25     rights, courts “look to the substance rather than to the form of the relief sought[.]” Id. at 279. An
26
       example of prospective relief that triggered the immunity exception was observed in Doe v.
27
       Lawrence Livermore Nat. Lab'y, 131 F.3d 836 (9th Cir. 1997). In that case, the Ninth Circuit
28
                                                         8
     Case 2:24-cv-00985-APG-MDC               Document 38         Filed 11/25/24        Page 9 of 38


 1     reversed the district court's dismissal of a plaintiff's § 1983 claim aimed at an official capacity

 2     defendant because plaintiff sought reinstatement as a laboratory employee which constituted
 3
       proper prospective injunctive relief. Id. at 837. The Ninth Circuit reasoned that the plaintiff
 4
       in Doe was “not attempting to recover lost wages or other accrued benefits by arguing that their
 5
       continued withholding is an ongoing violation” but simply sought job reinstatement without any
 6
       compensation. Id. at 840.
 7

 8             Conversely, relief that is not prospective for purposes of the immunity exception includes

 9     relief “expressly denominated as damages” because it “serves to compensate a party injured in
10     the past by an action of a state official in his official capacity[.]” Papasan, 478 U.S. at
11
       278 (citation omitted). Relief that is referred to or styled as “prospective” but equates to “an
12
       award of damages for a past violation of federal law” does not trigger the exception to Eleventh
13
       Amendment immunity. Id.
14

15             Further, the Ninth Circuit has been clear as noted in The Presbyterian Church (U.S.A.) v.

16     United States, 870 F.2d 518, 527 (9th Cir. 1989) stating that the Eleventh Amendment “does not

17     bar actions for declaratory . . . relief.” (citation omitted)); see also Jackson v. Hayakawa, 682
18     F.2d 1344, 1351 (9th Cir. 1982) (“[t]he Eleventh Amendment does not bar actions for injunctive
19
       or declaratory relief against state officials sued under 42 U.S.C. § 1983.”).
20
               While Defendants concede that the Eleventh Amendment does not apply to Plaintiff’s
21
       Title VI and Title VII claims (i.e., Third and Eighth7 Claims for Relief), Defendants seek
22

23     dismissal of all other claims as delineated infra.

24             It is significant to note the four paragraphs requesting prospective relief in Plaintiff’s

25     FAC8; specifically:
26

27     7
         Defendants mislabel Plaintiffs Eighth Claim for Relief as the Employment law claim, which is the Plaintiff’s
       Twelfth Claim for Relief in the FAC.
28     8
         See ECF-6; 76, 1-15.
                                                             9
 Case 2:24-cv-00985-APG-MDC              Document 38        Filed 11/25/24      Page 10 of 38


 1             1. Plaintiff seeks a Declaration from the Court that Defendants have violated Plaintiff’s

 2   constitutional right to equal protection.
 3
               2. Plaintiff seeks an immediate hearing on Plaintiff’s Motion for Temporary Restraining
 4
     Order, and, upon hearing, enter an Order restraining Defendants from allowing non-student
 5
     groups interfere and continue to torment Jewish students on campus by engaging in unprotected
 6
     speech.
 7

 8             3. Plaintiff seeks to permanently enjoin Defendants SJP-UNLV and NSJP from engaging

 9   in any campus activities, banning them from UNLV’s campus.
10             4. Plaintiff seeks to permanently enjoin all non-student organizations that violate NSHE
11
     student conduct and policies from engaging in any campus activities, banning them from
12
     UNLV’s campus.
13
     C.        PLAINTIFF’S ALLEGATIONS UNDER THE ARE SUFFICIENTLY PLED
14             UNDER TWOMBLY TO PRECLUDE DEFENDANT FROM PREVAILING ON
15             ITS MOTION TO DISMISS.

16             To survive a motion to dismiss, a complaint must contain "enough facts to state a claim to

17   relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct.
18   1955, 167 L. Ed. 2d 929 (2007). Although a complaint need not contain "detailed factual
19
     allegations," it must contain facts with enough specificity "to raise a right to relief above the
20
     speculative level." Id. at 555. "Threadbare recitals of the elements of a cause of action, supported
21
     by mere conclusory statements," will not pass muster. Ashcroft v. Iqbal, 556 U.S. 662, 678, 129
22

23   S. Ct. 1937, 173 L. Ed.2d 868 (2009) (citing Twombly, 550 U.S. at 555). In sum, this standard

24   "calls for enough fact[s] to raise a reasonable expectation that discovery will reveal evidence of

25   [the claim]." Twombly, 550 U.S. at 556. However, at the pleading stage, the plausibility
26
     requirements of Iqbal and Twombly do not require "some general and formal level of evidentiary
27
     proof." Whittney v. Guys, Inc., 700 F.3d 1118, 1128 (8th Cir. 2012).
28
                                                       10
 Case 2:24-cv-00985-APG-MDC             Document 38         Filed 11/25/24      Page 11 of 38


 1          “Asking for plausible grounds does not impose a probability requirement at the pleading

 2   stage; it simply calls for enough facts to raise a reasonable expectation that discovery will reveal
 3
     evidence of” the claimed violations. Twombly, 550 U.S. at 556. "There is no requirement for
 4
     direct evidence; the factual allegations may be circumstantial and 'need only be enough to nudge
 5
     the claim 'across the line from conceivable to plausible.'" McDonough v. Anoka County, 799
 6
     F.3d 931, 945 (8th Cir. 2015)
 7

 8          1. Plaintiff Has Standing to Bring the Foregoing Claims

 9          Article III of the U.S. Constitution authorizes the judiciary to adjudicate only "cases" and
10   "controversies." The doctrine of standing is "an essential and unchanging part of the case-or-
11
     controversy requirement of Article III." Lujan v. Defs. of Wildlife , 504 U.S. 555, 560, 112 S.Ct.
12
     2130, 119 L.Ed.2d 351 (1992). Article III’s “case or controversy” requirement “limits federal
13
     courts’ subject matter jurisdiction by requiring, inter alia, that plaintiffs have standing.”
14

15   Chandler v. State Farm Mut. Auto. Ins., 598 F.3d 1115, 1121 (9th Cir. 2010).

16          A plaintiff must demonstrate standing by establishing the “irreducible constitutional

17   minimum” of (1) an injury in fact (2) fairly traceable to the defendant’s challenged conduct (3)
18   that is likely to be redressed by a favorable decision. Spokeo, Inc. v. Robins, 578 U.S. 330, 338
19
     (2016) (citation and quotation omitted). A plaintiff shows injury in fact if he has “suffered ‘an
20
     invasion of a legally protected interest’ that is ‘concrete and particularized’ and ‘actual or
21
     imminent, not conjectural or hypothetical.’” Id. at 339 (quoting Lujan v. Defs. of Wildlife, 504
22

23   U.S. 555, 560 (1992)).

24          To establish standing, a plaintiff must demonstrate (i) that she has suffered or likely will

25   suffer an injury in fact, (ii) that the injury likely was caused or will be caused by the defendant,
26
     and (iii) that the injury likely would be redressed by the requested judicial relief. Food and
27

28
                                                       11
 Case 2:24-cv-00985-APG-MDC             Document 38        Filed 11/25/24      Page 12 of 38


 1   Drug Administration v. Alliance for Hippocratic Medicine, No. 23-10362 (5th Cir. 2023)

 2   citing to Summers v. Earth Island Institute, 555 U. S. 488, 493.
 3
            An injury in fact must be “concrete,” meaning that it must be real and not abstract. See
 4
     Transunion LLC v. Ramirez, 121 S. Ct. 2190, 951 F. 3d 1008 (2021). The injury also must be
 5
     particularized; the injury must affect “the plaintiff in a personal and individual way” and not be a
 6
     generalized grievance. Lujan, 504 U. S., at 560, n. 1.
 7

 8          Defendants claim that other than his termination under Title VII, Plaintiff fails to allege

 9   any concrete injuries. However, starting on page 52 of the FAC and continuing for four pages
10   thereafter, Plaintiff delineates the discrimination that he suffered, as an employee and a member
11
     of Student Government, specifically alleging disparate treatment. Thereafter, Plaintiff
12
     specifically alleges “[P]laintiff suffered injuries in the denial of access to and enjoyment of his
13
     educational benefits, and the cumulative trauma now and into the future that will require medical
14

15   and educational analyses, evaluations, and treatments, the cost of which entitles Plaintiff to

16   special damages in an amount to be proven at time of trial. Plaintiff suffered injuries in his

17   emotional and psychological harm, humiliation, degradation, damaged relationships, and general
18   emotional distress. [ECF 6, 61;1-5].
19
            2. Plaintiff Alleged Sufficient Facts to Withstand Dismissal of Plaintiffs First Claim
20
               for Relief.
21
            At the outset whether UNLV provided substantial assistance to the Foreign Terrorist
22
     Organizations is a question of fact to be determined at trial. UNLV allowed SJP and other non-
23
     student organizations to wreak havoc on campus spewing vile racial epithets against Gerwaski
24

25   and other Jewish students. UNLV not only provided them a platform over the course of two

26   semesters, but also provided them with locations on campus to engage in their behavior. UNLV
27

28
                                                      12
 Case 2:24-cv-00985-APG-MDC              Document 38        Filed 11/25/24     Page 13 of 38


 1   provided substantial assistance9 to SJP, and their affiliates to continue terrorizing Jewish students

 2   on campus. The mutual reliance and relationship that exists between Hamas, AMP, NSJP, SJP-
 3
     UNLV and their faculty has resulted in injuries to Mr. Gerwaski, insofar as the acts of terrorism
 4
     against Jews in Israel, refusing to release hostages and collectively and collaterally justifying
 5
     these acts as resistance to harm students at UNLV and specifically Gerwaski. Abhorrently,
 6
     UNLV faculty allowed this vile antisemitic behavior to persist over the course of two semesters,
 7

 8   despite Gerwaski and other Jewish students begging them to address the issue, placing them on

 9   notice that they did not feel safe on campus. Further, UNLV and faculty allowed these acts to
10   persist despite the fact that the acts were overtly violating campus policies.
11
               Further, Plaintiff’s FAC provides 27 pages of extensive facts creating a direct nexus
12

13   between Hamas, Defendants AMP, SJP and UNLV’s substantially assisting and complicitly

14   allowing SJP-UNLV to engage in these egregious acts which directly caused damages to Mr.

15   Gerwaski.
16
               The only three requirements Mr. Gerwaski, needs to meet to prevail under the ATA are
17

18   that he suffered an act that arose from international terrorism. UNLV’s involvement in assisting

19   FTO’s is adequately alleged in the FAC. As alleged in Plaintiff’s Complaint UNLV and

20   Defendants AMP collectively and collaterally engaged in actions in violation of JASTA [See
21   ECF-6; 57-58].
22
               Plaintiffs FAC specifically alleges that “[O]n January 21, 2024, Hamas issued a
23
     document in English, Our Narrative—Operation Al-Aqsa Flood, explaining how the protests and
24
     slogans of the American students in the wake of October 7, have renewed and reinvigorated the
25

26

27

28   9
         See ECF 6, 54-55.
                                                       13
 Case 2:24-cv-00985-APG-MDC                Document 38          Filed 11/25/24        Page 14 of 38


 1   goals of Hamas to completely destroy Israel.10 [See ECF-6; 26-27]. There could not be a clearer,

 2   bolder demonstration of substantial assistance of UNLV to Hamas. The link of UNLV to the
 3
     Hamas leader Khaled Mashal could not be made any clearer, then Mashal’s own words, claiming
 4
     actions allowed by UNLV have “renewed and reinvigorated the goals of Hamas to completely
 5
     destroy Israel”.
 6
             3. Plaintiff’s Third and Fourth Claims for Relief Withstand Dismissal
 7

 8           A plaintiff states a Title VI claim for hostile environment against a recipient of federal

 9   funds when: (1) the institution’s environment is hostile to the protected class; (2) the institution
10   had notice of the problem; and (3) it “failed to respond adequately to redress” the hostile
11
     environment. Monteiro v. Tempe Union High Sch. Dist., 158 F.3d 1022, 1033 (9th Cir. 1998)
12
     (citation omitted). A school violates its Title VI duty when its response manifests “deliberate
13
     indifference.” Id. at 1034. “Unlike claims under the Equal Protection Clause which must plead
14

15   intentional discrimination, Title VI claims need only allege that the defendant is engaging in

16   discrimination, although a showing of intent is necessary at trial.” Id. at 1026.

17           Defendants seek this court address the severity of the discrimination against Plaintiff at
18   this juncture, and assess whether the discrimination was so severe, pervasive and objectively
19
     offensive that it denied him equal access to education. They further claim that Plaintiff has not
20
     alleged that UNLV has acted with deliberate indifference as to the harassment suffered.
21
             As classified by Defendants, Plaintiff’s “rambling and incoherent” FAC specifically
22

23   alleges over the course of four pages allegations intentional discrimination against him. See

24   [ECF-6; 52-56]. Further, Defendant adequately pleads deliberate indifference in the FAC as well.

25   See ECF-6; 29, 1-4; 32;60.
26
     10
        Hamas Leader Abroad Khaled Mashal: ‘We Reject the Two-State Solution; October 7 Proved That Liberating
27   Palestine from The River to The Sea Is Realistic and Has Already Begun’, MEMRI TV (Jan. 22, 2024),
     https://www.memri.org/reports/hamas-leader-abroad khaled-mashal-we-reject-two-state-solution-october-7-proved-
28   liberating.
                                                           14
 Case 2:24-cv-00985-APG-MDC             Document 38         Filed 11/25/24      Page 15 of 38


 1          A “deliberately indifferent” response is one that is “clearly unreasonable in light of the

 2   known circumstances.” Brown v. Arizona, 82 F.4th 863, 881 (9th Cir. 2023) (en banc). “‘Clearly
 3
     unreasonable’ responses take many forms.” Id. (citation omitted). When the risk of Title VI
 4
     violations is “obvious,” the “failure to remedy that risk constitute[s] an official policy of
 5
     deliberate indifference . . .” Karasek I, 956 F.3d at 1113. A response that “could not have
 6
     reasonably been expected to remedy the harassment … amounts to an ‘official decision not to
 7

 8   end discrimination.’” M.M. v. San Juan Unified Sch. Dist., No. 219CV00398TLNEFB, 2020 WL

 9   5702265, at *9 (E.D. Cal. Sept. 24, 2020) (quoting Karasek I, 956 F.3d. at 1105).
10          The question of whether a defendants’ response to a particular hostile environment is
11
     unreasonable is inherently fact-bound. Courts regularly conclude that deliberate indifference is
12
     an issue that “should be resolved at the summary judgment stage on a fully-developed factual
13
     record.” Lilah R. ex rel. Elena A. v. Smith, No. C 11-01860 MEJ, 2011 WL 2976805, at *6 (N.D.
14

15   Cal. July 22, 2011); see also id. (“[W]hether [a defendant’s] response amounted to deliberate

16   indifference to the alleged discrimination is a fact-driven inquiry.”); Ramos v. Los Rios Cmty.

17   Coll. Dist., No. CV 2:17-1458 WBS KJN, 2018 WL 623585, at *2 (E.D. Cal. Jan. 29, 2018)
18   (deliberate indifference generally too fact-intensive for determination on pleadings). And even at
19
     the summary judgment stage after discovery, if the plaintiff offers evidence on deliberate
20
     indifference, the question is normally left to the jury, so long as a “reasonable factfinder” could
21
     conclude that the response to discrimination was “clearly unreasonable.” Brown, 82 F.4th at 882-
22

23   83; see also Videckis v. Pepperdine Univ., 100 F. Supp. 3d 927, 935 (C.D. Cal. 2015)

24   (allegations that “school officials failed to take concrete steps to address the issues … go to the

25   ultimate strength of Plaintiffs’ allegations rather than whether they support any plausible claim
26
     for harassment and deliberate indifference at all”).
27

28
                                                       15
 Case 2:24-cv-00985-APG-MDC             Document 38        Filed 11/25/24       Page 16 of 38


 1          Even at this early stage, Plaintiffs’ allegations of deliberate indifference go far beyond

 2   plausibility. For example, the FAC alleges that Defendants (i) know who the perpetrators are, (ii)
 3
     have official policies requiring the University to take action, but (iii) have failed to act. See ECF-
 4
     6; 29-32; 41-51; see also Doe ex rel. Doe v. Petaluma City Sch. Dist., 949 F. Supp. 1415, 1426
 5
     (N.D. Cal. 1996) (school district’s failure to “develop and implement policies” led to a hostile
 6
     environment) (emphasis added).
 7

 8          Furthermore, Defendants’ reliance on Oden v Northern Marianas College, 440 F.3d

 9   1085, 1089 (9th Cir. 2006) and M.L. ex rel D.L. v Concord Sch. Dist., 86 F.4th 501, 511 (1t Cir.
10   2023) is fatally flawed. A “failure to take any further steps once [a defendant] knew his remedial
11
     measures were inadequate supports a finding of deliberate indifference.” Flores, 324 F.3d at
12
     1135– 36. See also Vance v. Spencer Cnty. Pub. Sch. Dist., 231 F.3d 253, 262 (6th Cir. 2000)
13
     (“Where a school district has actual knowledge that its efforts to remediate are ineffective, and it
14

15   continues to use those same methods to no avail, such district has failed to act reasonably in light

16   of the known circumstances.”).

17          It is significant to note that on July 8, 2024, as Defendants allege [ECF-35,16] UNLV
18   launched an expanded and anti-discrimination education and training program for UNLV
19
     employees [ECF 14-Ex. F.]. The launch of this program occurred two months after Mr.
20
     Gerwaski filed this lawsuit is clearly a subsequent remedial measure that somehow Defendants
21
     think absolves them of liability for matters which occurred prior to the filing of the action of the
22

23   launch of UNLV’s subsequent remedial measure.

24          Defendants further allege that Mr. Gerwaski didn’t make a complaint in accordance with

25   UNLV policy that UNLV did not act upon and that he does not allege facts that he was subject to
26
     intentional discrimination. If fact, Mr. Gerwaski has four pages of allegations and specific
27
     examples of how he was discriminated against, that he personally made Defendant Whitfield
28
                                                      16
 Case 2:24-cv-00985-APG-MDC             Document 38        Filed 11/25/24      Page 17 of 38


 1   aware of said discrimination and that he was repeatedly ignored by UNLV administration.

 2   Gerwaski’s FAC specifies, instances where attempts to seek help from the top administrator on
 3
     campus were completely marginalized. Gerwaski and Jewish students held meetings with
 4
     Whitfield, attended hearings as alleged in the FAC and none of this mattered. This is hardly a
 5
     failure to allege intentional discrimination in the FAC.
 6
            4. Plaintiff Sufficiently Pled Allegations to Sustain a Claim Relief for IIED Against
 7
               UNLV.
 8
           The elements of IIED in Nevada are: "(1) that the defendant's conduct was extreme and
 9
     outrageous; (2) that the defendant either intended or recklessly disregarded the causing of
10

11   emotional distress; (3) that the plaintiff actually suffered severe or extreme emotional distress;

12   and (4) that the defendant's conduct actually or proximately caused the distress." Olivero v.

13   Lowe, 995 P.2d 1023, 1025 (Nev. 2000).Nelson v. City of Las Vegas, 665 P.2d 1141, 1145 (Nev.
14   1983); see Miller v. Jones, 970 P.2d 571, 577 (Nev. 1998). (“[E]xtreme and outrageous conduct
15
     is that which is ‘outside all possible bounds of decency’ and is regarded as ‘utterly intolerable in
16
     a civilized community.’” Rivera v. CCA; 0:20-cv-15651(9th Cir.)
17
           Here, UNLV’s conduct was extreme and outrageous as a University that encouraged and
18

19   allowed antisemitic vitriol and the incitement of violence against Jewish students at UNLV by

20   “globalizing the intifada”. Social media posts that say “Zionist presence on our campus can’t go

21   unchecked” [See ECF 6, 24; 3-12] with encouraging and inciting harassment and abuse of
22
     Jewish students is intolerable in a civilized community. Encouraging and facilitating the harm of
23
     Jewish students and “Zionist presence” at UNLV goes outside all possible bounds of decency.
24
           Plaintiff sufficiently plead all the damages that resulted from Defendant’s acts in his FAC.
25
     Plaintiff sufficiently plead and demonstrates that Defendants acts are both the actual and
26

27   proximate cause of Mr. Gerwaski’s distress. Furthermore, Gerwaski specifically delineates that

28   he not only suffered emotional distress but also that he had suffered great humiliation,
                                                      17
 Case 2:24-cv-00985-APG-MDC               Document 38        Filed 11/25/24     Page 18 of 38


 1   embarrassment, shame, and other pain and suffering. Plaintiff alleged sufficient facts to satisfy

 2   the requirements under Fed. R. Civ. Pro. 8. Accordingly, Mr. Gerwaski meets the threshold to
 3
     sustain a finding of a claim for relief under Fed. R. Civ. Pro Rule 8 for his Ninth Claim for
 4
     Relief.
 5
               5. Plaintiff’s 1983 Action is Sufficiently Pled to Survive Dismissal
 6
               Section 1983 provides a remedy to individuals whose constitutional rights have been
 7

 8   violated by a person acting under color of state law. See Burke v. County of Alameda, 586 F.3d

 9   725 (9th Cir.2009). In order for an individual to bring a successful Title 42 U.S.C. § 1983 claim,
10   the plaintiff must show that the challenged conduct (1) was committed by a person acting under
11
     color of state law, and (2) deprived the plaintiff of rights, privileges, or immunities secured by
12
     the Constitution or laws of the United States. Marshall v. Sawyer, 301 F.2d 639, 646 (9th
13
     Cir.1962).
14

15             Generally, to establish that a person was “acting under the color of law,” a plaintiff must

16   show that: (1) defendant's conduct was performed while acting, purporting to act, or pretending

17   to act in the performance of official duties; (2) defendant's conduct must have had the
18   purpose and effect of influencing the behavior of others; and (3) the challenged conduct must
19
     have been related in some meaningful way either to defendant's governmental status or to the
20
     performance of his duties. Anderson v. Warner, 451 F.3d 1063, 1068–69 (9th Cir.2006) ; see
21
     also West v. Atkins, 487 U.S. 42, 49, 108 S.Ct. 2250, 101 L.Ed.2d 40 (1988) (“The traditional
22

23   definition of acting under color of state law requires that the defendant in a § 1983 action have

24   exercised power possessed by virtue of state law and made possible only because the wrongdoer

25   is clothed with the authority of state law.”).
26
               Here, Plaintiff’s Complaint alleges clearly that UNLV’s Administration was acting in
27
     their official capacity when their actions facilitated all the claims for relief and allegations made
28
                                                        18
 Case 2:24-cv-00985-APG-MDC                    Document 38            Filed 11/25/24           Page 19 of 38


 1   by Mr. Gerwaski. Notwithstanding same, Plaintiff sufficiently pled ratification against Whitfield

 2   as final policy making authority.11
 3
     D.       DEFENDANTS ACTIONS ARE NOT BARRED BY SOVEREIGN IMMUNITY
 4            THEREFORE, PLAINTIFF’S TENTH AND ELEVENTH CLAIMS SHOULD
              NOT BE DISMISSED
 5
              Defendant’s claims that sovereign immunity bars Plaintiff’s Tenth and Eleventh Claims
 6
     for Relief for Negligent hiring, retention and supervision, are wrong.
 7

 8            In Clark Cty. Sch. Dist. v. Payo, 403 P.3d 1270, 1277 (Nev. 2017), the Nevada Supreme

 9   Court held that “[D]ecisions that policy-based and discretionary are entitled to discretionary-
10   function immunity. On the other hand, discretionary-function immunity does not apply to
11
     nonpolicy based decisions to allow (a) a nonregulation ball to be used, and (b) permit more
12
     students on the floor than indicated in the rules.
13
              Here, UNLV violated their own school policies as delineated in the FAC. See ECF 6;
14

15   35;9-38 precluding them from any discretionary or sovereign immunity.

16   E.       ALTERNATIVELY, LEAVE TO AMEND SHOULD BE GRANTED

17            For the reasons stated above, Plaintiff’s FAC easily withstands Defendants’ arguments,
18   and the Court should deny the motions and allow the case to proceed into discovery. In the
19
     alternative, Plaintiff respectfully requests leave to amend the Complaint if this Court finds
20
     insufficiencies as alleged.
21
              A dismissal without leave to amend is improper unless it is beyond doubt that the
22

23   complaint "could not be saved by any amendment." Harris v. Amgen, Inc., 573 F.3d 728,

24
     11
        In order to establish municipal liability under Section 1983, a plaintiff must show: (1) an employee violated the
25   plaintiff's constitutional rights pursuant to an official policy or informal practice of the municipal entity; (2) that the
     violator had final policy-making authority, and thus the challenged action itself constituted an act of official
26   governmental policy; or (3) a person with final policy-making authority ratified the unconstitutional
     behavior. Gillette v. Delmore, 979 F.2d 1342, 1346 (9th Cir.1992). The United States Supreme Court has expressly
27   held that a municipality is not liable merely because it employs a tortfeasor. Monell v. Dept. of Soc. Serv., 436 U.S.
     658, 691, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978).
28
                                                                19
 Case 2:24-cv-00985-APG-MDC             Document 38        Filed 11/25/24      Page 20 of 38


 1   737 (9th Cir. 2009). The Ninth Circuit has held that “in dismissals for failure to state a claim, a

 2   district court should grant leave to amend even if no request to amend the pleading was made,
 3
     unless it determines that the pleading could not possibly be cured by the allegation of other
 4
     facts.” Cook, Perkiss and Liehe, Inc. v. Northern California Collection Service, Inc., 911 F.2d
 5
     242, 247 (9th Cir. 1990). The issue is not whether plaintiff will prevail but whether he “is
 6
     entitled to offer evidence to support the claims.” Diaz v. Int’l Longshore and Warehouse Union,
 7

 8   Local 13, 474 F.3d 1202, 1205 (9th Cir. 2007)(citations omitted).

 9          There has been no delay or bad faith, Defendants cannot claim prejudice, and an
10   amendment would not be futile because it is clearly “at least possible” to cure any perceived
11
     defect. Harris v. Amgen, Inc., 573 F.3d 728, 737 (9th Cir. 2009).
12
                                              CONCLUSION
13
            A careful review of Plaintiff’s FAC will demonstrate that in the course of the 77-page
14

15   Complaint, UNLV’s complicity in the events that are the subject of this suit are irrefutable under

16   a standard for stating a claim for which relief should be granted. For the reasons discussed

17   herein-above, Plaintiff respectfully request that this Court deny the Defendants’ Motion to
18   Dismiss in its entirety.
19
            DATED this 25th day of November, 2024.
20

21                                                                 CHATTAH LAW GROUP

22                                                                        /s/ Sigal Chattah
                                                                   SIGAL CHATTAH, ESQ.
23                                                                 Nevada Bar No.: 8264
24                                                                 5875 S. Rainbow Blvd., #205
                                                                   Las Vegas, Nevada 89118
25                                                                 (702) 360-6200

26

27

28
                                                      20
 Case 2:24-cv-00985-APG-MDC             Document 38        Filed 11/25/24   Page 21 of 38


 1                                    CERTIFICATE OF SERVICE

 2
            I hereby certify that on the 25th day of November, 2024, I personally served a true copy
 3

 4   of the foregoing Plaintiff’s RESPONSE TO DEFENDANTS’ MOTION TO DISMISS [ECF-35]

 5   by the Court’s electronic service system to all registered parties:

 6                                          /s/ Sigal Chattah
                                   ________________________________
 7

 8                                    An Agent of Chattah Law Group

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Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 22 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 23 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 24 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 25 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 26 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 27 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 28 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 29 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 30 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 31 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 32 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 33 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 34 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 35 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 36 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 37 of 38
Case 2:24-cv-00985-APG-MDC   Document 38   Filed 11/25/24   Page 38 of 38
